Case 23-13359-VFP             Doc 943       Filed 06/23/23 Entered 06/23/23 17:09:55                     Desc Main
                                           Document      Page 1 of 5



    UNITED STATES BANKRUPTCY COURT
    DISTRICT OF NEW JERSEY
    Caption in Compliance with D.N.J. LBR 9004-1(b)

    MORITT HOCK & HAMROFF LLP
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    -and-
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    Marshall Goldberg, Esq.
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    Tel: (818) 474-1532 or (818) 888-2220
    mgoldberg@glassgoldberg.com

    Attorneys for Studio City East 93K, LLC

    In Re:                                                     Case No.: No. 23-13359 (VFP)

    BED BATH & BEYOND INC., et al.,                            Chapter:     11

                                            Debtors1.
                                                               (Joint Administration Requested)


                                     CERTIFICATION OF SERVICE

    1. I, Daniel C. Almont:

             ☐ represent                                                in this matter.

             X am the secretary/paralegal for Moritt Hock Hamroff & LLP, attorneys for Studio City East 93K,
             LLC in this matter.


             ☐ am the                                    in this case and am representing myself.


    2.       On June 23, 2023, I sent a copy of the following pleadings and/or documents to the parties


1
  The last four digits of Debtor Bed Bath & Beyond Inc.’s tax identification number are 0488. A complete list of the Debtors in
these Chapter 11 Cases and each such Debtor’s tax identification number may be obtained on the website of the Debtors’
proposed claims and noticing agent at https://restructuring.ra.kroll.com/bbby. The location of Debtor Bed Bath & Beyond Inc.’s
principal place of business and the Debtors’ service address in these Chapter 11 Cases is 650 Liberty Avenue, Union, New Jersey
07083.
3309130v1
Case 23-13359-VFP            Doc 943      Filed 06/23/23 Entered 06/23/23 17:09:55         Desc Main
                                         Document      Page 2 of 5


            listed in the chart below.

OBJECTION OF STUDIO CITY EAST 93K, LLC TO NOTICE TO CONTRACT PARTIES TO
POTENTIALLY ASSUMED EXECUTORY CONTRACTS AND UNEXPIRED LEASES


 3.         I certify under penalty of perjury that the above documents were sent using the mode of service
            indicated.

            Date: June 23, 2023
                                                         paiel C. Almont




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Case 23-13359-VFP          Doc 943    Filed 06/23/23 Entered 06/23/23 17:09:55                  Desc Main
                                     Document      Page 3 of 5



   Name and Address of Party Served          Relationship of                       Mode of Service
                                            Party to the Case
 Kirkland & Ellis LLP                    Counsel to the Debtors
                                                                      ☐ Hand-delivered
 601 Lexington Avenue
 New York, New York 10022                                             ☐ Regular mail
 Attn: Joshua A. Sussberg, P.C.
        Emily E. Geier, P.C.                                          ☐ Certified mail/RR
        Derek I. Hunter, Esq.                                         X Other Electronic Mail
        Ross J. Fiedler, Esq.
                                                                         (As authorized by the Court or by rule. Cite
 joshua.sussberg@kirkland.com                                         the rule if applicable.)
 emily.geier@kirkland.com
 derek.hunter@kirkland.com
 ross.fiedler@kirkland.com

 Cole Schotz P.C.                        Co-Counsel to the Debtors
                                                                      ☐ Hand-delivered
 Court Plaza North
 25 Main Street                                                       ☐ Regular mail
 Attn: Michael D. Sirota, Esq.
       Warren A. Usatine, Esq.                                        ☐ Certified mail/RR
       Felice R. Yudkin, Esq.                                         X Other Electronic Mail
 msirota@coleschotz.com                                                  (As authorized by the Court or by rule. Cite
 wusatine@coleschotz.com                                              the rule if applicable.)
 fyudkin@coleschotz.com

 Davis Polk & Wardwell LLP               Counsel to the Prepetition
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 steven.szanzer@davispolk.com
 michael.pera@davispolk.com

 Proskauer Rose LLP                      Counsel to the DIP Agent
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       Megan R. Volin, Esq.                                           ☐ Certified mail/RR
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 MVolin@proskauer.com
                                                                         (As authorized by the Court or by rule. Cite
                                                                      the rule if applicable.)




3309130v1                                        2
Case 23-13359-VFP         Doc 943       Filed 06/23/23 Entered 06/23/23 17:09:55               Desc Main
                                       Document      Page 4 of 5




   Name and Address of Party Served             Relationship of                   Mode of Service
                                               Party to the Case
 Office of the United States Trustee       Office of the United      ☐ Hand-delivered
 for Region 3                              States Trustee
 District of New Jersey                                              ☐ Regular mail
 Raymond Boulevard, Suite 2100                                       ☐ Certified mail/RR
 Newark, NJ 07102
 Attn: Fran B. Steele, Esq.                                          X Other Electronic Mail
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 Fran.B.Steele@usdoj.gov                                             the rule if applicable.)

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 780 Third Avenue, 34th Floor              Creditors’ Committee
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 Beth E Levine, Esq.                                                 ☐ Certified mail/RR
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 blevine@pszjlaw.com                                                    (As authorized by the Court or by rule. Cite
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 akornfeld@pszjlaw.com                                               X Other Electronic Mail
                                                                        (As authorized by the Court or by rule. Cite
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 crobinson@pszjlaw.com                                               the rule if applicable.)

 Gibbons P.C.                              Proposed Special          ☐ Hand-delivered
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                                                                        (As authorized by the Court or by rule. Cite the
                                                                        rule if applicable.)




3309130v1                                         3
Case 23-13359-VFP         Doc 943    Filed 06/23/23 Entered 06/23/23 17:09:55               Desc Main
                                    Document      Page 5 of 5



   Name and Address of Party Served         Relationship of                    Mode of Service
                                           Party to the Case
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                                                                   ☐ Hand-delivered
 51 West 52nd Street                    Bidder Overstock.com, Inc.
 New York, NY 10019                                                ☐ Regular mail
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       Michael S. Benn, Esq.                                      ☐ Certified mail/RR
       Gordon S. Moodie, Esq.                                     X Other Electronic Mail
 SKCharles@wlrk.com
                                                                     (As authorized by the Court or by rule. Cite
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 GSMoodie@wlrk.com




3309130v1                                      4
